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6                                 UNITED STATES DISTRICT COURT
7                             CENTRAL DISTRICT OF CALIFORNIA
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                                                )
9    JULIE HAMILTON, et al.,                    ) Case No. CV 17-1060-DMG (JEMx)
                                                )
10                  Plaintiffs,                 )
                                                ) JUDGMENT
11                  v.                          )
                                                )
12                                              )
                                                )
13   TBC Corporation, et al.,                   )
                                                )
14                                Defendants.   )
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15                                              )
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18         On January 29, 2019, the Court granted the Motion for Summary Judgment filed
19   by Defendants TBC Corporation and Dynamic Tire Corporation.
20         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that judgment is
21   entered on all claims in favor of Defendants TBC Corporation and Dynamic Tire
22   Corporation and against Plaintiffs Julie Hamilton, Lyle McLean, Sam Flowers, and
23   Nestor Diaz.
24
25   DATED: January 29, 2019
26                                                           DOLLY M. GEE
27                                                   UNITED STATES DISTRICT JUDGE

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